           EXHIBIT D




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             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT INDEPENDENCE

 SHANE COOK & KARLA CARO,                        )
                                                 )
                        Plaintiff,               )
                                                 )
 v.                                              ) Case No. 2116-CV07101
                                                 )
 FAMILY MOTORS LLC,                              ) Division 17
                                                 )
                        Defendant.               )

                      DEFENDANT’S RESPONSES TO PLAINTIFF’S
                         FIRST REQUESTS FOR ADMISSIONS

       COMES NOW defendant, Family Motors LLC, and for its responses to Plaintiff’s First

Requests for Admissions states as follows:

       REQUEST No. 1.          Admit Defendant never demanded payment of storage fees from

Plaintiffs prior to October 4, 2021.

       ADMIT


       REQUEST No. 2.          Admit the document attached as Exhibit A is a true and accurate

 copy of a letter written by Jason Higgs on or about January 13, 2021.

       Objection. No Exhibit A was attached to Plaintiff’s Requests for Admissions.



        REQUEST No. 3.          Admit the following statements made in Exhibit A were false:

 “We are individual sales agent, not employees, nor even 1099 representatives.”

       Objection. No Exhibit A was attached to Plaintiff’s Requests for Admissions.


        REQUEST No. 4.          Admit Defendant has no evidence that Plaintiffs have a

 “common practice” of asserting false legal claims.


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        DENIED


        REQUEST No. 5.        Admit Defendant has no evidence that Plaintiffs to

 “catch unsuspecting people or businesses and take advantage of them.”

        DENIED


        REQUEST No. 6.        Admit that Defendant had no legal grounds for a

 counterclaim against Plaintiffs on January 13, 2021.

       DENIED

       REQUEST No. 7.        Admit that the white 2016 Pontiac G6 GT sedan, VIN

1G2ZG558264117471 that is the subject of this suit (the “Vehicle”) was brought onto

Defendant’s property on or about December 18, 2020 with the permission and consent of

Defendant.


       ADMIT

       REQUEST No. 8.        Admit Defendant never revoked consent for the Vehicle to be on

Defendant’s property.

       DENIED


       REQUEST No. 9.        Admit Defendant that, between January 13, 2021 and October 4,

 2021, Defendant never gave Plaintiffs’ notice that Defendant was revoking their consent for

 the Vehicle to be on Defendant’s property.

       DENIED




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       REQUEST No. 10. Admit Defendant has no documents or pictures showing

the Vehicle’s with a “very small pebble crack.”

       ADMIT




                                                        Respectfully Submitted,

                                                        VAN OSDOL, PC

                                                  By:     /s/ Anthony L. Gosserand
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                                                        ATTORNEYS FOR DEFENDANT
                                                        FAMILY MOTORS, LLC




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